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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 19-cr-20450-SCOLA/TORRES
UNITED STATES of AMERICA,
Plaintiff,
Vv.
ALEX NAIN SAAB MORAN,

Defendant.
/

WAIVER OF APPEARANCE

 

COMES NOW Defendant ALEX NAIN SAAB MORAN, who
states:

1. I have read the Indictment/Information/Petition (or it was read to me) and
understand the charges that have been brought against me.

2. [have consulted with my attorney. I understand that I am guaranteed the right to be
present at all criminal proceedings if my presence is critical to the outcome of the
proceeding and would contribute to the fairness of the proceeding.

3. I understand that the guaranteed right to be present means the right for me to be
present, in person in the courtroom, with my attorney, the prosecutor, and the judge.

4, I understand that I also have the right to appear and participate vide video at the
arraignment and report re counsel hearing.

5. I further understand that I have the right to waive my appearance at the arraignment
and re counsel hearing and, having consulted with counsel, Henry P. Bell, I waive my
right to be present at the hearing both in person and by video and authorize my lawyer
to communicate the same to the Court on my behalf.

6. Counsel affirms that he has conferred with the defendant and that the defendant is

 
